          Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 1 of 73 Page ID #:1

                                                                         f~~',,,        FILED         ,-,
                                                                         .~. C1E   I .S. DISTRICT COURT
      1    VINCENT W.SHACK
          64337 DORAL DR.                                                     ~~ 2 7 201
      2
           DESERT HOT SPRINGS,CA 92240
      3   (760)218-9777                                                       R~~ 's      ~ ,~~~~
                                                                                                  DEPUiY
 l5 q      vgreengolf@aol.com

      5
           VINCENT W. SHACK,IN PRO PER
~l    6


      7                                         r~V 9- ~9~- ~                                                ~c
      8

      9                           UNITED STATES DISTRICT COURT
     io                                      for the
     it                          CENTRAL DISTRICT OF CALIFORNIA

     12    VINCENT W. SHACK,                         No. Case Number
     13               Plaintiff,
                                                     Transfer of Case from the state of
     14
                 vs.                                 California to Federal Court
     15
           NBC UNIVERSAL MEDIA,LLC~tr
     16

     ,~    IMG WORLDWIDE,INC,
           LADIES PROFESSIONAL GOLF                                                                         ~:.
     18

     19
           ASSOCIATION,                              DEMAND FOR                        ~°
           SAMSUNG ELECTRONICS
           AMERICA INC., AND DOES 1 TO                                         DEC 27 219
     20
          ~~                                                                        ~5 District Court
     21                                                                             ~ni ART 4612
                           Defendant.
     22
           The plaintiff alleges misuse of the United States Constitutional First Amendment
     23
          "freedom of speech" through the utilization ofthe Strategic Lawsuits Against Public
     24
           Participation,"(SLAPP)civil code 425.16 by the named defendants. Although the
     25
           Superior Court tentative ruling warned the defendants the SLAPP motion was
     26
           premature and should not be filed against a Cause of Action. The plaintiff indicates
     27
           being denied Leave from the Fourth (4th) District Court of Appeal which would have
     ?g


                                               COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 2 of 73 Page ID #:2




 1
      permitted the State California General Counsel to gain proper jurisdiction to review the
 2
      plaintiff's Victim Government Claim filing. The plaintiff also alleges intentional torts,
 3
      violent criminal act of physical battery at the hands ofthe defendant, infliction of
 4
      emotional distress, deceit, and nuisance, all of which resulted in a "violation of
 5
      Plaintiff's Civil Rights (`Singled Out'). The intentional torts were dismissed as a result
 6
      ofthe utilization ofthe SLAPP motion. The element of battery and personal injury was
      never properly disposed of.
 8
                                        I. JURISDICTION
 9
      1. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that the
10
      controversy arises under the United States Constitution. The district courts shall have
it
      original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
12
      of the United States. Each and all ofthe acts(or threats of acts) alleged herein were
13
      done by defendants, or their officers, agents, and employees, under color and pretense
14
      ofthe statutes, ordinances, regulations, customs and usages of the NBC et al.
15

16
      2. Venue is proper in this district under 28 U.S.C. §1331 because a substantial part of
l~    the event giving rise to the claims in this action occurred in this district.
18
                                        III. PARTIES
19
      3. Plaintiff's name is Vincent W. Shack. Plaintiff resides at: 64337 Doral Drive Desert
20    Hot Springs, California 92240
21    4. Defendant names are
22    IMG WORLDWIDE & LPGA Paul V. Wayne,Esq. Tharpe &Howell 15250 Ventura
23    Boulevard, Ninth Floor Sherman Oaks, California 91403-3221
24    SAMSLJNG AMERICA Wesley D. Hellerud, Esq. KINKLE,RODIGER AND
25    SPRIGGS 3333 Fourteen Street Riverside, CA 92501
26    NBC UNIVERSAL MEDIA GROUP Paul K. Schriffer, Esq. P.K. SCHRIEFFER,LLP
2~    100 N. Barranca Avenue, Suite 1100 West Covina, CA 91791
28    LADIES PREFESSIONAL GOLF ASSOCIATION Eric Bruce Kunkel, Esq. Tharpe

                                             COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 3 of 73 Page ID #:3




 1
      & Howell, LLP 15250 Ventura Blvd., 9th Floor Sherman Oaks, CA 91403
 2
                                IV. STATEMENT OF FACTS
 3
                                             1
 4    On October 11, 2007, Mr. Vincent Shack purchased tickets to attend a professional
 5    golfing event at the 2007 Samsung World Championship at the Bighorn Country Club
 6    in Palm Desert, California.
                                            2
 8    Mr. Shack alleges on the 18th hole ofthe green after an errant tee-shot he moved one
 9    or two steps to clear the path so the play could continue. As Shack moved out of the
to    path of the errant ball, Dan Beard struck Shack with either his camera or forearm and
ii "spewed derogatory language toward" Shack. Shack was "visibly shaken and suffered
12    immediate and serious injury" to his "neck area, among other physical and mental
13    injuries."

14                                          3

15    Shack further alleged that at the end of the day tournament security personnel

16    approached him and informed him that Beard had filed a complaint alleging Shack had

1~    threatened him. Beard initially provided a false statement to the police(EXHIBIT A)

18
      where he indicates the plaintiff stated he would cut him. Beard pointed to Shack as he

19
      was walked towards the clubhouse to report he had been battered by Beard. The police
      immediately pursued Shack and asked that he empty his pockets. Shack willingly
Zo
      emptied all his pockets and no weapon was observed. The police returned to Beard and
21
      informed him Shack did not have a weapon. Beard then changed his story and said he
22
      really didn't hear Shack say he had a knife.
23

24
      Shack then sought out and spoke with the head of security for the tournament, who
25
      informed him that no charges would be filed and he was free to attend the tournament
26
      on the following day, October 12.
27

28

                                          COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 4 of 73 Page ID #:4




 1
      On October 12 when Shack attempted to purchase a ticket and to enter the tournament
 2
      he was denied.
 3
                                               0

 4    Police officers "removed" him from the tournament "in a manner that was
 5    unnecessarily aggressive, demeaning and demoralizing. These humiliating and
 6    debasing acts were committed in front ofthe golf community," which Shack relied
      upon for "professional opportunities."
 8                                             ~/
 9    Shack alleged his forcible removal from the tournament on October 12 caused him
io   "great embarrassment and emotional distress," and described defendants"' conduct on
li    October 12" as "equally if not more outrageous" than Beard's act of striking him in the
12    neck and spewing derogatory comments toward him on October 11.
13                                             g

14    In addition, on October 12, tournament personnel and security "specifically told"
15    Shack that IMG and Bighorn "did not want him" at the tournament.

16                                             0

l~    Shack alleged that, in refusing him entry to the tournament on October 12, defendants

18
     "failed to act reasonably, prudently and in good faith." Shack also alleged that Beard

19
      and the other defendants, including IMG,the LPGA,NBC,and Samsung, falsely
      reported to police andlor tournament security personnel that Shack threatened Beard as
Zo
      a result of these reports, Shack was refused entry into the tournament on October 12
21
      and was forcibly removed by police officers in a manner that was "unnecessarily
22
      aggressive, demeaning and demoralizing"; and, finally, these actions humiliated Shack
23
      in front of the golfing community upon which he relies for "professional opportunities.
24
                                               10
25
      On February 04, 2009 after three attempts to resolve the issue with the defendants
26
      including one attempt by letter of performance written by California barred Attorney
2~
      Terry Lehr which was flatly ignored. Mr. Shack then filed a lawsuit against six
28

                                          COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 5 of 73 Page ID #:5




 1
      defendants(Dan Beard (camera man)IMG Worldwide, Inc.(IMG), Ladies
 2
      Professional Golf Association (the LPGA),NBC Universal, Inc.(NBC), Samsung
 3    Electronics America, Inc.(Samsung), and Bighorn Properties, Inc.(Bighorn).
 4                                            11
 5    Shack alleged the six defendants were the agents or employees of each other, and the
 6   five "entity defendants" were in some manner responsible for Beard's "outrageous
      battery" and for their own actions in reporting to police and tournament security
 8    personnel that Shack threatened Beard.
 9                                            12
10    Shack indicates during a Superior Court hearing with Judge Evans. Judge Evans gave
ii    Shack leave to amend the first complaint to clarify the liability of the defendants.
12                                            13
13    During Shack's leave Beard's attorney filed SLAPP motion.
14                                            14

15    The motion went unopposed by the plaintiff while on leave as given by the Courts to

16    submit a second amendment civil complaint clarifying the liability ofthe defendants

l~ (Demurrer of the defendants).
18
                                              15

19
      During the time of Shack's permitted leave; the court granted Beard's (the 6th
      defendant) motion for SLAPP.
20
                                              16
21
      Shack requested an ex parte hearing to address Beard's SLAPP suit motion which had
22
      been granted by the Superior Court Judge.
23
                                              17
24
      The courts denied the plaintiffs request for the ex parte hearing although the SLAPP
25
      motion ruling was rendered while the plaintiff was placed on leave to demurrer.
26
                                              18
27
      After realizing the court's granting the defendant Bearden SLAPP motion all other
28

                                           COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 6 of 73 Page ID #:6




 1
      defendants filed and were granted.
 2
                                              19
 3    IMG and the LPGA filed a SLAPP motion which was granted as to Shack's first
 4    amended complaint, while NBC and Samsung later filed separate SLAPP motions.
 s    Clearly showing all parties were acting in concert to avoid liability of the defendant
 6    Beard SLAPP motion as defined in paragraph 15 and18.
                                              2~
 8    Judge Evans advised the defendants their SLAPP motion was premature in that it
 9    should not be filed against a Cause of Action.
to                                            21
it    Shack argued IMG,the LPGA,NBC,and Samsung failed to meet their initial burdens
12    of demonstrating that his causes of action against them for "general negligence" and
13   "intentional tort" arose from protected activity.
14                                            22

15    Shack pointed out that Beard's alleged act of striking him in the neck did not constitute

16    protected speech or petitioning activity.
                                              ~~j
17

18
      Shack filed a response indicating his first and second amended complaints, Shack

19
      generally alleged that IMG,the LPGA,NBC,and Samsung were responsible in some
      manner for Beard's "outrageous battery" or act of striking him in the neck.
20
                                              24
21
      July 21, 2010 plaintiff filed a motion to the State of California Fourth District of
22
      Appeal requesting extension of time to file a brief against NBC Universal, Inc et al.
23
                                              25
24
      July 29, 2010 the State of California Fourth District of Appeal denied the extension
25
      request. The rationale was the following: no further extensions will be granted on the
26
      grounds of this application, the length of the record, the number and complexity of
27
      issues, counsel's newness to the case, the existence of other time-limited
28

                                           COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 7 of 73 Page ID #:7




 1
      commitments, or any vacation.
 2
                                              ~~

 3    March 04, 2011, the plaintiff received a response from the State of California Fourth
 4    District of Appeal upholding the trial courts SLAPP suit decision. During oral
 5    argument the appellant judge (Justice King) asked the respondents,"why is this not a
 6    case for battery?"
                                              2~
 s    May 11, 2011, the plaintiff received a response from the Supreme Court of California
 9    with his petition for review being denied. EXHIBIT B
10

ii    September O1, 2011 the plaintiff filed the VCGCB and was advised the Victim
12    Government Claim is to be filed with the offending government entity the, Fourth
13    District Court of Appeal, Division two(2)Riverside, California who will forward it to
14    the state general counsel. EXHIBIT C
15                                            29

16    September 29, 2011 plaintiff received a response from the Victim Compensation and

i~    Government Claims Board(VCGCB)with the determination they had no jurisdiction

18
      over the Superior Court of Superior Court Judges. EXHIBIT C

i~                                            30
      August 1, 2012, the plaintiff filed a motion with the 4th District Court requesting leave
20
      as advised by the state General Counsel to permit the Victim Claim to be reviewed.
21
                                              31
22
      The Fourth District Court of Appeal responded in order to grant leave there must be
23
      motion filed to recall the court remittitur.
24
                                              32
25
      September 29, 2011, the plaintiff filed a motion to recall remittitur.
26
                                              33
27
      The plaintiff indicates the court responded to his motion to recall the remittitur was
28

                                            COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 8 of 73 Page ID #:8




 1
      based on judicial error twice.
 2
                                              34
 3    The plaintiff responded back indicating his motion was not based on judicial error but
 4    a request to be granted leave to allow his claim to be reviewed by the State of
 s    California General Counsel(Lyle Nishimi).
 6                                             35
      August 21, 2012, the plaintiff received a response from the State of California
 8    Counsel indicating his claim was being returned because it was not presented within
 9    six(6) months after the event or occurrence(OPINION)as required by law. EXHIBIT
1G

11

12    Plaintiff clearly documents the time was not exceeded. On September Ol, 2011
13    plaintiff filed a complaint with the Victim Compensation and Government Claims
14    Board which was continuously delayed as he waited on the State of California Fourth
15    District Court of Appeal to respond to his request for receiving leave.

16                                            37

i~    November 19, 2012 the State of California Fourth District Court of Appeal denied

18
      plaintiff motion filed to recall remittitur from August 6, 2012 request. EXHIBIT E

19
                                              38
      May 18, 2015 the plaintiff filed another motion to recall remitter for good cause and
20
      not judicial error.
21
                                              39
22
      July 1, 2015 the plaintiff received a response from the State of California Fourth
23
      District of Appeal denying his request to recall remittitur indicating there were no le
24
      grounds for its recall.
25
                                              40
26
      July 12, 2019, the plaintiff received a response from the State of California Fourth
G7

      District of Appeal with a denial of his fifth motion to recall the remittitur.
28

                                            COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 9 of 73 Page ID #:9




 1
                                              41
 2    July 12, 2019, the plaintiff received a response from the fourth Appellate District Coy
 3    indicating the plaintiff filed his fifth motion to recall the remittitur which was being
 4    denied on the same grounds as the denial of his fourth recall motion filed August 16,
 5    2016 where he sought leave from the courts to have the government claims reviewed
 6    which were submitted with an earlier recall motion and forwarded to the Office of
      General Counsel order filed November 19, 2012. EXHIBIT F
 8                                           !~►]
 9    September 25, 2019 the Supreme Court of California denied plaintiff's petition for
io    review was denied (motion to recall remittitur due to time restrictions beyond 30 days
11    of the ORDER of the Court of Appeals 4th District Riverside, California.
12                                            43
13    Based on the August 21, 2012, the plaintiff received a response from the State of
14    California general counsel his claim was being returned because it was not presented
15    within six (6) months after the event or occurrence as required by law is incorrect in

16    that he filed all request based on communications from the honorable court and at

l~    times experience considerable delays but continued to keep the case active as it is

18
      shown through the chronological records of all engagements as documented in the

19
      Appellate Courts Case Information Summaries EXHIBIT G
                                 CLAIMS (CAUSES OF ACTION)
Zo
                                FIRST CAUSE OF ACTION CLAIM 1
21
      Plaintiff alleges paragraphs 3, 13 through 26. (Misuse of First Amendment through
22
      utilization of California's "Strategic Lawsuits Against Public Participation," (anti-
23
      SLAPP) 425.16. Constitutional Law § 55—First Amendment—Freedom of Speech—
24
      State Constitutional Provisions. --The free speech provisions of Cal. Const., art. I, § 2,
25
      are more protective, definitive, and inclusive of rights to expression of speech than
26
      their federal counterparts.
2~
                                              1
28


                                            COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 10 of 73 Page ID #:10




 1
       The plaintiff alleges the defendant wrongfully utilized the First Amendment of the
 2
       United States Constitution which protects the freedom of speech. While the
 3     interpretation ofthis phrase is often used very liberally, the First Amendment forbids
 4     the government from limiting anyone's freedom to speak his or her mind with rare and
 5     narrow exceptions. In lawsuits for defamation (libel or slander), speech is used to
 6     cause intentional harm and, therefore, cannot be used as freely. There is no First
       Amendment right to defame another. This is where California's "Strategic Lawsuits
 8     Against Public Participation,"1 (anti-SLAPP) statute and the First Amendment collide.
 9     Significantly, California jurisprudence has extended its prohibition on false statements
io     of fact to prohibit concealment of material facts. As the court in this Matter of Jeffers
ii     put it "i[i]t is settled that concealment of material facts is just as misleading as explicit
12     false statements, and accordingly, is misconduct calling for discipline." Additionally,
13     the court found that the lawyer's conduct constituted a violation of B & P 6106, which
14     provides that "any act of moral turpitude, dishonesty, or corruption" may be subject to
15     disbarment or suspension. As referenced in the cases of Grove v. State Bar(1965)63

16     Cal. 2d 312, 46 Cal Rptr. 513, 405 P2d 553, Arm v. State Bar(1990)50 Cal. 3d 763,

i~     268 Cal. Rptr. 741, 789 P.2d 922, Sullins v. State Bar(1975) 15 Cal. 3d 609, 125 Cal.

18
       Rptr. 471, 542 P.2d 631, and Sabatino v. State Bar(1980)27 Cal. 3d 159, 162 Cal.

19
       Rptr. 458,606 P. 2d 765. All counsels were clearly aware of the false statement made
       by defendant Beard as documented in the police report. His initial statement of claims
Zo
       the plaintiff had a weapon (knife) which was used as an avenue to utilize first
21
       amendment for protection against a threat was bogus and slanderous. Therefore, the
22
       SLAPP motion should have been denied and sanctions applied.
23
                                                       ~~
24
       In California, the so-called anti-SLAPP statute is codified in section 425.16 ofthe
25
       Code of Civil ofProcedure. The statute allows defendants to file a special motion to
26
       strike. In order to prevail, the defendant must show that its speech or conduct fits
27
       within one of the categories spelled out in the statute. If it does, the burden shifts to the
28

                                              COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 11 of 73 Page ID #:11




 1
       plaintiff to show that he can show a probability of prevailing on the merits. If the
 2
       defendant is successful in striking some or all of plaintiff's claims, defendant will be
 3     entitled to collect its reasonable attorney's fees.
 4                                                    3
 5     A party who believes that they have been harmed by the free speech of another party
 6     may threaten and intimidate the free speaker with the burden of legal fees, by way of
       filing a lawsuit against the speaker, unless or until they cease their opposition and stop
 8     speaking out against the cause.
 9                                                    0

io     But filing SLAPP lawsuits against an individual or organization for engaging in
ii     protected political activity is a dangerous thing. The SLAPP statue had never been
12     used by a corporation against an individual.
13                                                    5
14     It was abundantly clear from the outset the response to the plaintiff's lawsuit was not
15     about remedying any real harm. It was about punishing the challenge of the plaintiff

16     and chilling any future recall efforts by forcing him to exercise his right to recall and i

i~     pay large amounts of legal fees.

18
                                                       G~

19
       In fact, as noted in exhibit A,the official police report it clearly documents the

20
       defendant at no time was in fear of the plaintiff corroborating the defendant's first
       amendment claim. The defendant initially reported to law enforcement officers the
21
       plaintiff threatened him with a knife. This resulted in the plaintiff being humiliated in
22
       the presence of the golf community by being questioned about a weapon. The plaintiff
23
       willingly followed all law enforcement officers orders and no weapon was found. Law
24
       enforcement officer informed the defendant who then changed his story and indicated
25
       he didn't hear the plaintiff make a threat with a knife.
26
                                                      /I
27
       The first amendment clearly states its purpose is to prevent the government from
28

                                             COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 12 of 73 Page ID #:12




 1
       making laws which regulate an establishment of religion, prohibit the free exercise of
 2
       religion, or abridge the freedom of speech, the freedom of the press, the right to
 3     peaceably assemble, or the right to petition the government for redress of grievance.
 4                                                    g

 5     There was no documentation of violation of the first amendment given support to the
 6     wrongful us of the SLAPP 425.16 based on the fraudulent statement given by the
       defendant. This is similar to the case of Louis G. Navellier vs. Kenneth Sletten 29
8      Cal.4th 82, 124 Cal Rptr. 2d 530, 52 p. 3d703 where Sletten committed fraud in
 9     misrepresenting his intention to be bound by a release, so as to induce the plaintiff to
io     incur various litigation costs in the federal action filed as a special motion pursuant to
it     section 425.16 to strike this action as a SLAPP. The court denied the motion indicating
12     the action fell outside the scope of the "arising from "prong ofthe anti-SLAPP statue
13     because it was not brought primarily to chill the exercise of constitutional free speech
14     or petition rights.
15                                                    0

16     The plaintiff indicates this is the case here. He is asking the honorable court to

~~     respectfully permit a reversal and to add a claim for "intentional infliction of emoti

18
       distress."
                                                      10
19
       The plaintiff alleges the intentional torts of battery, infliction of emotional distress,
Zo
       deceit, and nuisance, all of which resulted in a "violation of Plaintiff's Civil Rights
21
      (`Singled Out').
22
                                               CLAIM 2
23
       Plaintiff alleges paragraphs 2,7,11, 22-23, and 26 Ralph Civil Rights Act Civ. Code §
24
       51.7. Freedom from violence; Preservation of legal right to pursue action for
25
       violations.
26
                                                      1
27
       The plaintiff alleges the charge of battery was never addressed by any of the
28

                                             COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 13 of 73 Page ID #:13




 1
       defendants although a police incident report clearly documents he was struck by the
 2
       defendant camera man.
 3                                                     2
 4     The defendant admits he struck the plaintiff.
 s                                             CLAIM 3
 6     Plaintiff alleges paragraphs 2-9 Unruh Civil Rights Act, CC § 51 et seq also known as
       a denial of service or public accommodation discrimination.
 8                                                     1
 9     Because the Unruh Act prohibits violence or intimidation based on a person's sexual
to     orientation (Civ C § 51.7), it provides a plaintiff with a basis for pleading a cause of
11     action for a violation of public policy. In the case of Gatto vs Sonoma county, the
12     plaintiff allegedly was the victim of various crimes committed by one person and the
13     county failed to adequately investigate that person's conduct or otherwise protect
14     plaintiff. Gov C § 815.3 (public entity liable for harassment if elected official and
15     public entity named as codefendants) was applicable to plaintiff's state discrimination

16     claims for money damages, but otherwise inapplicable as retroactive legislation.

i~     Ortland v. County of Tehama(E.D. Cal. Aug. 9, 1996), 939 F. Supp. 1465, 1996 U.S.

18
       Dist. LEXIS 11789.
                                                       2
19
       Appellant county fair ejected respondent patron (Gatto) for refusing to remove his vest
Zo
       bearing a motorcycle club insignia. His(Gatto) Government Claims Act claim got
21
       rejected. He (Gatto) sued under the Unruh Civil Rights Act, Cal. Civ. Code § 51(b),
22
       and Cal. Const. art. 1, § 2, enforceable through a Cal. Civ. Code § 52.1(b) action for
23
       damages. The Sonoma County Superior Court(California) awarded him damages and
24
       attorney fees. The fair had a dress code against provocative apparel and "gang
25
       insignia." The trial court dismissed the city as a party, as it had not adopted the dress
26
       code. The appellate court found that, as the § 51(b) claim derived from common law
2~
       principles, and as the § 52.1(b) claim sounded in tort, they were subject to the Cal. Civ.
28

                                             COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 14 of 73 Page ID #:14




 1
       Proc. Code § 340 one-year statute of limitations. But the Government Claims Act
 2
       extended the limitations beyond the one-year. Enforcement of the dress code did not
 3     deprive the patron of full and equal access to accommodations in violation of the
 4     Unruh Act. The legislature intended to confine the scope of the Unruh Act to types of
 5     discrimination it listed. Any judicial expansion of coverage was to be done carefully,
 6     subject to a three-step inquiry. The dress code was, however, void for vagueness and
       facially overbroad, and its enforcement against the patron deprived him of his Due
 8     Process Clause liberty interest in personal dress and appearance. The definition of
 9     "gang," in general, was notoriously imprecise. The dress code did not contain
to     ascertainable standards. There was no showing that wearing of such insignia would
11     lead to violence.
12                                                   3
13     For the foregoing reasons, the trial court correctly concluded that the Government
14     Claims Act applied to this action and extended the limitations period beyond the one
15     year specified in section 340 ofthe Code of Civil Procedure. Because Gatto filed his

16     complaint in the superior court within six months from the date of the notice he

l~     received of the rejection of his claim (Gov. Code, §§ 911.8, subd.(b), 913, subd.(b)),

18
       it was not time-barred.

19
       The plaintiff(Shack) alleges similar, there is no evidence presented of him violating
20
       anyone's first amendment right but a clear display of his civil rights being violated.
21
                                                     5
22
       Plaintiff has also demonstrated he entered his complaint and continued to respond to
23
       the honorable court within the required time but was stalled due to many court delays
24
      (Exhibits G). Plaintiff requests his case to be recognized as not time-barred as in the
25
       case with Gatto.
26
                                              CLAIM 4
2~
       Plaintiff alleges paragraphs 27-43 Civil Rights § 7.1—Discrimination by
28

                                            COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 15 of 73 Page ID #:15




 1
       Government—Federal Civil Rights Statute—Application of Government Claims Act. -
 2
       -Federal civil rights claims brought under 42 U.S.C. § 1983 are exempt from the claim
 3     filing requirements ofthe Government Claims Act(Gov. Code, § 910 et seq.) because
 4     the supremacy clause of the United States Constitution does not permit a state law to
 5     alter or restrict federally created rights.
 6                                               1
       The plaintiff clearly documents being denied leave from the Fourth (4th) District Cou
 8     of Appeal which would have permitted the State Attorney of California General
 9     Counsel to gain proper jurisdiction to review his Victim Government Claim (Exhibits
io     E and F).
li
12    (As against Defendant(s): NBC Universal Media Group, SAMSUNG America,IMG
13     Worldwide, and Ladies Professional Golf Association(LPGA)
14                                 VI. REQUEST FOR RELIEF

15     WHEREFORE, plaintiff prays that this Court:

16    (a) Address the issues that would have been addressed in the Victims Government

i~     Claim;

18
      (b)Enter judgment against the defendant;

19
      (c)Issue a declaratory judgment declaring that all defendants are unconstitutional on
       its face;
20
      (d) Award plaintiff costs, interest and reasonable attorneys' fees for this action
21
       pursuant to 42 U.S.C. §1988 and other relevant statutes; and,
22
      (e) Order such other and further relief as the Court deems just and proper under the
23
       circumstances to include but is not limited compensatory and punitive damages (to
24
       pain and suffering, loss of income, back and forward pay to be made whole);
25
      (~ To examine the Government Tort Liability § 18—Claims—Exception without
26
       prejudice—Actions Seeking Nonmonetary Relief.--When a claimant seeks both
27
       damages and nonmonetary relief from a public entity in the same action, the
28

                                               COMPLAINT
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 16 of 73 Page ID #:16




 1
       applicability of the claim filing requirements of the Government Claims Act(Gov.
 2
       Code, § 910 et seq.) turns on whether the damages sought are ancillary to the equitable
 3
       relief also sought, in which case the requirements are inapplicable, or the reverse is
 4     true, in which case the filing requirements apply. An action for specific relief does not
 5     lose its exempt status solely because incidental money damages are sought.
 6                         VII. DEMAND FOR JURY TRIAL
       Plaintiff hereby requests a jury trial on all raised in this complaint.
 8

 9     Dated:       ~ ~~2.
                         ~~~ C Q
10

ii     Sign:            ~,
12
       Vincent W. Shack
       Plaintiff in pro per
13

14

15

16

17

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21

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24

25

26

27

28

                                              COMPLAINT
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 17 of 73 Page ID #:17




                            EXHIBIT A
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 18 of 73 Page ID #:18




                          EXHIBIT A-1
                        Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 19 of 73 Page ID #:19
      mss'-..v>~a~r~.     .~~,
                                      RIVEFc~~DE COUNTY SHERIFF'S DEPAR"~..~ENT
                                                  - ALM DESERT S1ATION
                                                  P                                         ~~   ~
                                                     Continuation Page      `~``^ ~'~~~~         ~J~~
                                                         Page # 3
          Case # T07304047                                                     investigator den Ramirez X2343
          Subject: 415(3)PC —Disturbing the Peace


1         DETAILS:                                                            `
2                On 10•-~ t~-d7, I was working a~ a uniformed Deputy Sheriff at the Samsung Golf
 J        Charnpion~s~ip, at the Bighorn Golf Club /Canyons Course, at 312 Canyon Dr., Palm Desert. At
4         about 1540 hours, I was providing security with Corporal Pierce as the LPGA golfers left the
 J        eighteenth green. We were approached by an NBC cameraman,(V!C) Dan Beard, who told us
6         a spectator had made threats to cut him with a knife, after Beard reached out with his hand to
          keep the spectator out of a live camera feed. Beard and his assistant, Matt Cook, left to film an
 8        interview, but returned a few minutes later.
 9
10              Beard pointed out the subject who made the threats to him, as the subject was walking
i1       up the cart path on the south side of the eighteenth hole, toward the clubhouse. Corporal Pierce
12       and I contacted the subject, later identified as Vincent Shack, about halfway up the cart path.
13       asked Shack if I could speak to him about what occurred with the camera man, and he stopped
14       and said, "This is just another nigger going to jail." I explained that I was investigating- possible
15       threats made, and Shack denied making any threats to _the cameraman. He told me he was
16       watching the gofers, and had walked in front of the camera, when the camerai~~an reached out
17      .to stop him. He denied having any weapons, and .emptied his pockets on the cart path without
         me requesting it.

20               Shack told me I was embarrassing him by talking to him, and claimed we were
21        "accosting" him. I told him I was investigating a possible crime reported to m~, and was not
:Z2       taking him to jail. His attitude and demeanor with me reflected that of someone who was
23        challenging me to arrest him for something. At the time Shack claimed we were embarrassing
24        him, there were no other spectators on the cart path to see me talking to him. Shack gave me
25        his business card, and told me he was a "2 handicap" which had no bearing on the investigation
26          was conducting. He used the term "nigger" a second time during my contact with him, and
27        asked if I knew how many black males were in jail across the nation due to false arrest. I told
 ~g       him I did not, but Shack then quoted a number to me.
 ~g
 30               Corporal Pierce spoke to Shack's friend, Javier Silva, who told Corporal Pierce ti^ saw
 31        the cameraman reach out and stop Shack from blocking the camera. Silva said he did not hear
 32        any threats made to the cameraman.
 33
 34              Shack questioned me about what the cameraman claimed he said, and then asked if he
 35        could go with me when I spoke to Beard. I told he could not be there as I spoke to she
 36        cameraman, and told him he was free to leave. My contact with Shack was less than five
 37        minutes long.
 38
 39                returned to the eighteenth green and spoke to Beard a seconca time. Beard told me he
           was on the south side of the eighteenth hole, west of the green, when he vas at~empting to

42                                                                  ~ a' e ~o~: .       `~.
           provide a live camera feed of the tournament. He said the subject (Shac{%) ~rdalked in front of his
           camera once, and Beard told him to move, because it                        s walked in front of
                                                                                  ~
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 20 of 73 Page ID #:20




                          EXHIBIT A-2
           Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 21 of 73 Page ID #:21
                              RIVES _DE COUNTY SHERIFF'S DEPAR          IEN'I'
                                               PALM DESERT STATION
                                                 Continuation Page
                                                     Page # 4
     Case ~ T07304047                                                  Investigator Ben Ramirez #2343
     Subject: 415(3)PC —Disturbing the Peace



 1   the camera a second time and Beard put his left arm out to keep Shack out of the camera's
 2   view. He said the subject threatened to cut him, but due to the radio earphones Beard was
 3   wearing, he could not be certain of all of the words Shack used.
 4
 5          spoke to Matt Cook, who was with Beard at the time, and he heard Shack threaten to
 6   "Fuck him up" (referring to Beard). Neither Beard nor Cook actually heard Shack say he had a
 7   knife.
 8
 9         About forty five minutes after this incident, I saw Shack speaking to Sergeant Armstrong,
10   and three other uniformed deputies at the driving range, which contradicted how embarrassed
11   Shack seemed to be speaking to uniformed deputies.
12
13          Tliis report is for documentation purposes only.
14
15   CASE STATUS:
16        EXC




                                                                ~~
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 22 of 73 Page ID #:22




                          EXHIBIT A-3
                                  Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 23 of 73 Page ID #:23
                                                                                               INCIDENT REPORT
                                                                                         RIVERSIDECOU\TYSHERIFFCA0330000                                                                     ~ iNI~~J~~~~~                          L]SUPPI,E~IENTAI.
  ?~}_ Yx~PA~~:                            1031-07
                                                              ~D.4TPICIME AFPORTFD         ~~       3_DA'f'6i TJMEASS~GTED                       ;DATE/TIMc MV.S'CART                          ,'-   5 DATEITlAfE INS. TERi.4                     G.AduIt ARR               i77uv ARR      -~
      - NI~~75R

                  T073a4047                                 ~ io-io-o~               i~~,~          ';o-~o-o~ ~                 isao             i io-io-o~ ~ isao ~~: io-io-o7                                              ~ i ts
                 -CODE SECTION                                                       CRiMc                                                                                                                                    COIA'TS                           1 9. EDP CODL•
  F

 1 5(3) PC                                                                            Disturbing the Peace                                           _                                                                         1                                  ~ 24DOM
                                                                                     ClilbtE                                                                           -                  -                           -COUNTS                            -- ILEDP CODE -~
 ~F'EVSLS-CODE SECTION (Add or Q~ange lo)


                                                                                     CRIFtE                                                                                                                                   COUNTS                                77.eDP CODE
  OPFcNSF.S-CODE SECTION (Add or Change ~o)



                                                                                                     I5. REP. DIST.                 16. Or~JRREO ON -                      DnTE /TIME                                17. OR BETWEEN:                         DATE /TIME
  LOCATION OF OCCURRENCE

 12 Canyon Dr., Palm Desert                                                                          3z ~ 7                         10~~ ~-O7                              1540
                                                                                                                                    19. ~USMESS PHONE                                                                        20. CASE STA'T'US / CLEA RgNfE
  ~USMHSS NFutitE

  ighorn golf Club                                                                                                                  340-4390                                                                                 CLOSED EXCEPTIO~JAL

VIi,TIM -REPORTING PARTY - ~VITI\'ESS -OTHER:                                                                                                                                   ~         See Additional Persons Report

                      22. NA1~AE (1~s4 Fvst, Middlc)                                                  ~l SEX             _J. RACE                25. DOB                   2ti. AGE           D FR            , 26 W'T             ZA }3A7k --           30. DYES                3L SKIN. --
t ~. INVL

VIC .;; Beard, Dan                                                                                          M              W               08-16-66                                            ~,: ~ „:°: r =                                                  ~ `~                        ..
 z. aesi~ericE nfl~aess                                                                                    ary                                                                                       ztr                            ~3. aes. ~a~rre

W. 8976 Ripley Rd.                                                                                         Canbridge, WI                                                                             53523                          608)698.7665                                                ,

 '1. BUSMHSS ADDRESS                                                                                       ~~TY                                                                                      ZIP                            35. BUS. PHOTP


 NBC                                                                                                                                                                                                                                608)698.7665
to INVL               ]7. NAME (Last, Fvst Middlc)                                                     l8 SEX             9. RACE                40. DOB                   4I. AGE         '~ HT                63 RrC             da HA]R        ~~     45 EY65. motS.
                                                                                                                                                                                                                                                                    - S~
                                                                                                                                                                                                                                                                    I7+'
            -.

WIT ~;-~, Cook, Matt                                                                                       M               W                  10.17-69                     ``~                                _ ~ ,`                                                        ~~ ~                 ~
 ~ 7. RESIDENCE ADDRESS                                                                                    CITY                                                                                      ZIP                           ~ 4n. AFS. P}fGNC


60515th St. #B                                                                                             Huntingon Beach                                                                           92640                          ~1~)317-1657                                                 j
 i9. BUSWE55 ADDIIESS                                                                                      CITY                                                                                      Z1P                            50. BSS. PHGNE


Self Employed                                                                                                                                                              ___                                ____L__                                          __ _
         v P~+ CT:                   ~ Adult           ❑Juvenile                   ❑Parole            ❑Probation                                                               ❑See Additional Person.; RepuR                                          ❑ A~`_kEST E~
                       ~4 NAME(Ust, Firs4 Middlc)                                                      57. SEX            4. RACE             55. DOB                      56. AGE             57. HT           SR. WT             SQ. IiP.IR            ~
                                                                                                                                                                                                                                                         5U                 ~    6I Sd1N

SUS ~ ~ . Shack, Vincent                                                                                    M               B                 08-07-64                         43              602              200                  ~Ik ~Bro                               I Mbr
 ~2. DRIVEN$ LICENSE NUMBER / ID NUMBER                                       GJ. STATF                64. SOCIAL SECURITY NUMBER                                              65. MNI NUMOER                                       a6. Cll NUM1:B~P.


 00744198                                                                          CA                                                                                                                                        _ ~--
 ti7. RESIDENCE ADDRESS                                                                                           CITY                                                                                ZIP                           68. RCS. PHONE


 64337 Doral                                                                                                      Desert Hot Springs                                                                  92240                         365-0649
 69. BUSME;S ADOIiESS                                                                                             CITY                                                                                ZIP                            70. BUS. PHONE


 Copper Hill Homes @Joshua Springs                                                                                Yucca Valley                                                                                                     .365-0649
 %i.                     1i~VENILE DISPOSITION:                                   Other Juris.                 Juv. Crt. Prob.                   Within De G                                                        Not etained
 n.                                             GANG DATA                                                                       n.               TATTOOS /                         AR /                          CLOTHING DESCRIPTION                                            __
                                                                                                                                                         -xr_~:'       'fin.        K is? b:                    'rJ~                      Y     Ct. ,~   f       C..~
                                                                                                                                     F~          ~
     Gang Name(s):                                                                                                                    ~ ~; r                           ~+: .?mss.,.__                 }~,       ~:~~, ,                       ~~~~ ~.r,_~.:;                         __

                                                                                                                              ~"7 '-F'         +}0.~.       rJ
                                                                                                                                                             w         T       ~~..'~tr              ~S?f',k.T~K         ~    Y-.a;~YSlro"Y. ~:,~'~~ Y t~.~

                 Member           ❑Associate            ❑Self Admit        ❑Prior Knowledge                                  ~ '?~'" ~Y              ~     ,-                  ~               ~                    ~~' ~          ~~~~"~~''a ~~                                 ~. "~ `

                                          TATTOOS /SCARS /MARKS                                                                         ~i~'~'       `~`~•~`~~"'~~
                                                                                                                                                         L~  4c L  ~~` ~~~+' ~~'''
                                                                                                                                                                        ~..,~    y ~~'                                                 '~`'~ `'~ ~~~3 ~{3
                                                                                                                                                                                                                                      ~G                                    ~Y    .q,      ~:

      Face ❑Neck                ❑ R. Arm         ❑ L. Arm     ❑Hands       ❑Torso         ❑Back            ❑Legs                       ~':~          ~                  ~' ~-1 ~               ~3'~r' ~               'aq.~ F
                                                                                                                                                                                                                            '
                                                                                                                                                                                                                            , ,~                  ~                     t           ?~     ~i




 t''F.~'IIC~LE:                                               ❑     REFER TO CHP 180 FORM FOR STOLEN,RECOVERED,TOWED OR IMPOUND
 ~a L l~-, _           75. LICENSE                      76. STATE     77. 1"EFZ                78. A1AKE                            79. h10DEL                                             80. dO DY STYLE                                    eLSTN! REC. A'Jr0 VAL:JL~~

                                                                                                                                                                                                                                                                    f

 e     CnLOWCOfAR                          83. VRJ p                                                                            ~    84. OTI-[ER IDENTIFIERS                                                                  85. GISPOSITION OF VEF9CLE



                                                                     87. ADDRESS                                                                                CITY                                        STATE               ZIP




                                                                                                                                                                                                                                         89' DMSAGED PROPERTY VALtiE                            ^~
                                                        ❑ PROPERTY REPORT ATTACHED FOR STOLEN, RECOVERED,OR DAMAGED PROPERTY
                                                                                                                                                                                                                                      . 3

                     G;Fll'ER                                            4FF. ID                             RE'~'~FIVEU HY / ]ATE                                                            EN7"ERHO BY!DATE                         -ENTERED F.Y / D.4T ~:                              i

  ~n~. ~sen Ramirez                                                      #2343                                                                   -/
      O?lES TO'                                                                                                                               APR SENT                              FR I 'CTf f`                       L O] NCIC E~[:                     W 1 T.'CIC C41CCtI.ED



 ,ern A .fip re•d:'J98

                 j
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 24 of 73 Page ID #:24




                          EXHIBIT A-4
      Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 25 of 73 Page ID #:25

                                                                       k     ~           s

1     T'07304047                           CONTINUATION PAGE                           Page 3
-,
 3    details:
 4       On October 11, 2007, I was working as a supervisor at the Samsung Golf Tournament,
 5    which was being held at the Big Horn Country Club in the city of Palm Desert. On that
 6    date at about 1540 hours Investigator Ramirez, who was also working at the golf
 7    tournament assigned to player security, informed me that he had contacted a subject by
 8    the name of Vincent Shack. Inv. Ramirez relayed the following information to me:
 9
10       Inv. Ramirez stated that a cameraman had flagged him down and claimed that Mr.
11    Shack had threatened to cut him. Inv. Ramirez stated that he had spoken with Mr. Shack
12    who denied the accusations. Inv. Ramirez also stated that the cameraman did not want to
13    press any charges against Mr. Shack. Inv. Ramirez also stated that Mr. Shack was
14    claiming his contact with law enforcement was racially based.
15
16       At the end of game play that day,I was contacted on the driving range by an
17    individual who identified himself as Vincent Shack. Mr. Shack asked who was in charge,
18    and I advised him I was the supervisor in charge of the deputies at the event. Mr. Shack
19    stated that Inv. Ramirez contacted him on the golf course. Mr. Shack stated that he had
20    not threatened anyone and wanted to know if he could file a complaint about the
21    cameraman making up a story. Mr. Shack also wanted to complain that Inv. Ramirez had
22    embarrassed him by contacting him. I explained to Mr. Shack that Inv. Ramirez was
23    obligated to contact him because a crime had been reported to him. Mr. Shack told me
24    that he had purchased a ticket and had a right to be at the golf tournament. I told Mr.
25    Shack that no one had asked him to leave or placed him under arrest. I also advised him
2C    that he had a right to be at the tournament as long as he abided by the rules that were on
27    his ticket. Mr. Shack then continued to watch players on the driving range.
2.8
29        I contacted Jim Butzbach who was the Director of Security for the Big Horn Country
30     Club. I advised Mr. Butzbach of the circumstances and he advised me that he would
31     contact IMG,the company in charge of the golftournament. Later that evening, Mr.
 32    Butzbach contacted me and told me that per IMG,they did not want Mr. Shack back at
 33    the tournament because they felt his actions were detrimental to golf play and the
 34    totunament as a whole.
 35
 ~6        On October 12, 2007, I held a briefing for the golf tournament. During that briefing I
 37    told Inv. Elders, who was assigned to the location where the spectators boarded the
 3S    shuttles for the tournament, that per IMG Mr. Shack was not welcome back at the
 39    tournament. I gave Inv. Elders a photograph of Mr. Shack and instructed him to advise
 ~0    bim he was not allowed to attend the event, if he arrived. Later that morning,Inv. Elders
 41    contacted me and advised that Mr. Shack was attempting to purchase a ticket to the
 42    tournament. inv. Elders had advised Mr. Shack that he was not allowed to attend the
 4~    tournament per IMG. Mr. Shack wanted to speak with someone in charge. I told Inv.
 44    Elders to have Mr. Shack contact IMG corporate headquarters to voice his complaint.
 4~    Inv. Elders advised me that Mr. Shack had remained in the parking lot, after being told he
 46    ~~ as not allowed to attend the tournament, for the entire day and displayed odd behavior.
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 26 of 73 Page ID #:26




                          EXHIBIT A-5
     Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 27 of 73 Page ID #:27
:.Tr•,T~ J~- C~1t_iFORNIa                                                          Page 2
RIVEI~SIDE COUNTY SHERIFF                                  NARRATIVE/SUPPLEMENTAL REPORT

C/~SE NUMBER          DATE C)F ~N~IDEP~7            NCIC NUMBER           OFFICER             ID NUMBER
   707304047              10-12-07                   CA330000             ELDERS              2206



                                                                               ~.

Details:
   On 10-12-07 I was working extra duty at the McCallum Theater, 73-000 Fred Waring Dr. Paim Desert,
as part of the Samsung Golf Tournament at Big Horn Country Club. I was assigned to the parking lot
security detail. Prior to starting my shift in the morning I was briefed by Sgt. Armstrong who told me that
I MG/Samsung security had banned a subject from entering the property or attending the golf tournament.


Sgt. Armstrong told me the subjects na►ne was Vincent Shack, and he gave me a description and Dti1V
photo of the subject. Sgt. Armstrong told me that Shack had been arguing with the television camera
operators and security officers.


About 0945 hours I noticed a subject who matched the description of Shack, I saw that he was
attempting to purchase a ticket with a credit carcJ and I looked and saw that the name on the card was
Vincent Shack. I contacted Shack and talked to him privately, I advised him that he was not allowed to
purchase a ticket ~r go to the goif tournament.


 Shack immediately stated "I know how you guy's are, your just picking on a poor nigger", "they were
messing with me yesterday". I told Shack that he was not allowed to get on a shuttle or go to the
tournament. Shack told me that he wanted to speak to someone else about being denied entry into the
tournament. I called and spoke with Sgt. Armstrong who advised me to tell Shack to contact IMG
Corporate office. One of the IfyAG ticket sellers provided Shack with a telephone number and allowed him
to use the telephone to call. Shack spoke with someone in the corporate office. Shack was still denied
entry and made several comments that he was being "singled out".


Several or' the older volunteer women came up to me and stated that they felt that Shack was making
them feel threatened. I told Shack that he needed to leave the location and that his business was
finished with the ticket sales area. Shack event and sat on the south side of the McCallum Theater for the
next seven and a half hours, at times he would swing a golf club and look towards where I was. About
1725 hours he finally I~ft the [ocat~on in his vehirl?,


Case status: t ~?<C,__.;                                                               ~~ .
                                                                                       ~         -
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 28 of 73 Page ID #:28




                          EXHIBIT A-6
    Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 29 of 73 Page ID #:29



1   707304047                           CONTINUATION PAGE                            Page 4
2
3    Mr. Shack did not return to the golf tournament during the following days. This report
4   is for documentation purposes only.

6   Case Status:
7   EXC
8
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 30 of 73 Page ID #:30




                          EXHIBIT A-7
                                  Case 5:19-cv-02494-PA-SP
                                              '\           Document 1 Filed 12/27/19 Page 31 of 73 Page ID #:31
                                                                                               INCIDENT REPORT
     PREPARED:                          ~ 2-d$-O7                       ~                      RIVERSIDE COUNTY SHERIFF CA0330000                                                       (]INITIAL                               ~ SUPPLEMENTAL

~ 1. FILE NUMBER                                           3»~ _ .~. .. ... ~. ..        ~i ~^ ~:~ '1FJ~'U~ASSI.                 ~:: - e- `         -    -       _ .`''.   °: -                 •. . A                                     ~.' 6. Adult ARR      1. Juv ARR
     707304047                                                                                         -~~~ ~             ~~
                                                              .:
                                                               ,..,           , .. ~           __                                     ~         _              r .. _ . ,,                        r.,- _                ~                :~. f
                  JSES -CODE SECTION                                                      CRIME                                                                                                                             COUNTS                            9. EDP CODE
             ,~(cX1)                                                                      Battery With Injury                                                                                                                             01                    13E1-F
'i 10. OFFENSES -CODE SECTION (Add a Charge to)                                           CRIME                                                                                                                             COUNTS                            11. EDP CODE

~'I~ 12- OFFENSES -CODE SECTION (Add orChange to)                                         CRIME                                                                                                                            COUMS                              13. EDP CODE


                                                                                                       1 5. REP.D15T.          16. OCCURRED ON-                   DATEITIME

                                                                                                                                               12-08-07 / 1110
                    ~~ ~w~~                                                                                                    i a. auairvtaa rnurvt                                                            Z0. GASE STATUS /CLEARANCE

                                                                                                                                                                                                                                                 EXC
                   - REPnRTWG PARTY - WITNESS - nTHFR•                                                                                                       n cee naa;s,....,i o,,,..,...,. o,..,....
                           22. NAME(Last Frcst, Middle)                                                                        23. SIX        z4. RncE         zs. oos
     ~.~~ ~,;, Shack, Vincent Previousl Blocked                                                                                                                                         ~                 '~           r~~ ~~ ~~ ,~~~>° ~ ~ ~'-
     ?2 RESIDENCE ADDRESS                                                                                                  CIIY                                                                          'ZP                                33. RES.PHONE


     34. BUSINESS ADDRESS                                                                                                  CITY                                                                           ➢P                                35. BUS.PHONE



             `        ~    37. NAME(fact Frst Middle)                                                                          3a. sIX        3s. w+cE         a0. Do8                      ~                  "~ "


     47. RESIDENCE I~DRESS                                                                                                 CITY                                                                           ZIP                               48. RES. PHONE


     49. BUSINESS ADDRESS                                                                                                  CfTY                                                                           Z1P                               50. BUS. PHONE




     SUSPECT:                   ~ Adult           I~ Juvenile                       n Parnla           -
                                                                                                       I 1 Pmhatinn                                 n Coo Arliii4inn~l Al~moc Denn.~                                           141 n..,...~,.a
         -                52 NAME (LaSf, Ftsf, MiddlE)                                                                         53. SD(        S4.RACE          55.DOB                       56. AGE        5/. HT          58. Wf           59.HA1R      fi0. EYES     6~. SKIN
-* ~                       Beard, Dan Previous) Blocked
         '1RNER'S LICENSE NUMBER I ID NUMBER                                63. STATE    64. SOCIAL SECURITY NUMBER                       65. MNI NUMBER                                                                             66. CII NUMBER


     c           .JENCE ADDRESS                                                                                            CfTY                                                                           DP                                68. RES.PHONE


 69. BUSINESS ADDRESS                                                                                                      CITY                                                                           DP                                70. BUS. PHONE


 71.                 J




     VEHICLE:                                                     n REFER TO CHP 18O FARM FAR STOI FN_ RFCOVFRFfi Tc1WFn ~R IMPnllun~n
,.                        75. LICENSE                                 76. STATE     77. YEAR        78. MAKE                    79. MODEL                            B0. BODY STYLE                                   81. STN I RCV AUTO VALUE


 82 COLORICOLOR                                   83. VIN #                                                                     84.OTHER IDENTIFIERS                                                                  85. DISPOSITION OF VEHICLE


I 86. REGISTERED OWNER                                                87. ADDRESS                                       CITY                                 STATE                ZIP                                 88. PHONE



                                                                                                                                                                                                                       89. DAMAGED PROPERTY VALUE
                                                          ❑ PROPERTY REPORT ATTACHED FOR STOLEN, RECOVERED,OR DAMAGED PROPERTY                                                                                         $
                    REPORTING OFFICER                         OFF. ID                REVIEWED BY /DATE                                    ENTERED BY I DATE                                                                         fi      #'                                -

                          Rinkert                             4372                  ~.                   ,~ - y ~ ~

 roan r                   i rt, rev i iu i




                                                                                                                                                                                                    ~~~ ~                                                       ~
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 32 of 73 Page ID #:32




                             EXHIBIT ~- ~
               Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 33 of 73 Page ID #:33

     F[LE 7vUMBER
     TO'~304047                                  CONTINUATION PAGE ~                               PAGE Z OF .3

         The following is a supplemental report.

 3       EVIDENCE:
 4
 5                  None.
 6
 7       ATTACHMENTS:
 8
 9                  None.
 la
~1       DETAILS:
12
13               On 12-08-07, at 1100 hours, I was on routine patrol in the contract City of Palm Desert. At that
14       time, I was dispatched to a past battery incident. At 1110 hours, I phoned Vincent Shack (as requested)
15       and the following is a summary of what he told me regazding this incident.
16
17             On 10-11-07, at 1400 hours, Shack was attending the Samsung golftournament at Bighorn Golf
18      Club (See Investigator Ramirez's initial report). At that time, Shack was watching the tournament in the
19      area ofthe 18~' hole. A cameraman (later identified as Dan Beard) was recording the event live on
20      camera. Beard was standing in close proximity to Shack(and other spectators in the crowd). Shack
21      stepped in front of Beard's camera at which time Beard punched Shack in the face and pushed him
22      backwards. Shack did not fight back against Beard. Beard told Shack "This is a live shot, step in front of
        the camera again and I'll have your ass thrown out ofthe event." Shack walked away from the location.
        He did not seek any medical treatment far his injuries(Shack did not specify what type ofinjuries he had
 25     incurred as a result of being punched in the face by Beard).
 26
 27             A short rime later(unknown hour) Shack was contacted by Investigator Ramirez(See his initial
 28     report)regarding a threat Shack had made to Beazd. Shack attempted to tell Investigator Ramirez Beard
 29     dad pushed him but Investigator Ramirez ignored Shack and accused him of making a threat to Beard.
 30     Shack told me that at that time, he was in fear for his life and believed Investigator Ramirez was about to
 31     take his personal freedom away. Shack told me he is from southern California. I asked Shack what
 32     relevance that had to his report ofthis incident. Shack told me he was being profiled by Investigator
 33     Ramirez. I explained to Shack that Investigator Ramirez was only investigating an incident. Shack told
 34     Investigator Ramirez he did not make any threats to Beard.
 35
 36             Shack completed his conversation with Investigator Ramirez and returned to watching the rest of
37      the golf tournament. He did not seek medical treatment for his injuries. I asked Shack why he did not seek
 3S     medical treatment if Beard had punched him in the face. Shack told me Beazd did not punch him in the
39      face. Beard struck Shack in the throat using his left forearm. Beard then pushed Shack with his left ann in
40      a downward rrJ~otion. The force applied by Beard caused Shack to move backwards approximately 2-3 feet
41      (Shack told me I had misunderstood him during the beginning of our discussion).
42
43              Shack left the Bighorn Golf Club at the termination of the event. He did not seek any medical
44      treatment for his injuries and did not report the incident to anyone. Shack told me he did not want to
~'`     disrupt the golf tournament.

47              On 10-12-07, at an unknown hour, Shack returned to the golftournament to purchase another
48      ticket. At that time he was contacted by Investigator Elders who told him that, per instruction by IMG,
49      Shack would not be allowed inside the tournament. Shack told me he was shocked that the Sheriffls
                                                                                                              ~~,
                                                                                           '~ ,       ~ ~~
                                                                                                                    :,.:i
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 34 of 73 Page ID #:34




                          EXHIBIT A-9
          Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 35 of 73 Page ID #:35

 FILE NUMBER
 707304047                                  CONTINUATION PAGE                                 PAGE ~OF 3

     Deputies were looking for him and treating him like a "wanted person". Shack told me he needs
     psychological counseling for the distress this incident caused him. Shack wants to press charges
                                                                                                       against
     Beard for injuring him. I asked Shack what specific injuries he had received as a result of being struck
                                                                                                              by
4    Beard. Shack told me his back has been out of alignment since the incident. I asked Shack how much
                                                                                                            time
5    had elapsed between the initial incident and his seeking treatment for his back injury. Shack told me he
6    had visited a chiropractor on 12-06-07, at 1630 hours for treatment of his back injury. He had not sought
     any treatment for his back injury prior to that date (12-06-07).
 8
 9          At 1140 hours(on the same date) I notified Sgt. Armstrong of this supplemental report. I am
10   submitting this report to be attached to the initial report of the incident.
11
12   STATUS: EXC
13
14




                                                                                                       ~~,,
                                                                                          ~~
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 36 of 73 Page ID #:36




                            EXHIBIT B
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 37 of 73 Page ID #:37




     Court of Appeal, Fourth Appellate District, Division Two - No. E049374

                                     S191785

     IN THE SUPREME COURT OF CALIFORNIA
                                    En Banc


                 VINCENT W. SHACK,Plaintiff and Appellant,
                                         ~,

          NBC UNIVERSAL,INC. et al., Defendants and Respondents.


   The petition for review is denied.
   The request for an order directing publication ofthe opinion is denied.


    Chin and Corrigan, JJ., were recused and did not participate.            ~~~R~~~ ~~~~~
                                                                                ~~

                                                                                MAY 11 2011
                                                                          Frederick K. Ohlrich Cler

                                                                                   Deputy




                                                        ~ANTIL-SAKAUYE
                                                           ChiefJustice
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 38 of 73 Page ID #:38




                           EXHIBIT C
             Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 39 of 73 Page ID #:39
                 L     I     F      O      P.     N             A


            ~^ce~so'-ior. l 3 Gc~esnrrer.i      C~ai~:-s   Boerd
                                                                                      STATE OF CAIJFORNIR
                                                                                      EDMUND G. BROWN JR. Governor
            i ENT CLAIMS Pf~OGRAM
          fit,5°i Floor ~ Sa6~amen[o, California 95811                                                      ANNA WL CABALLERO
         ,i~ress: P.O. Box 335 ~ Sacxamento. California 95812                                                            Secretary
                                                                                              Spate and Consumer Services Agency
         Telephone Numbell-600.955-0045 ♦Fax Number. (916) 491-6443                                                   Chairperson
        «~~-~v.v~cb.ca.eo~•
                                                                                                                  JOHN CHIANG
                                                                                                                  State Controller
                                                                                                                   Board Member
                                                                                                            MICHAEL A RMAOS
      Vincent Shack                                                                          San Bemardirw Cow~ty District Attorney
      643 7 Doral Drive                                                          ~,     ~3                         Board Member
      Desert Hot Spring, CA 92240                                                                                JULIE NAUMAN
                                                                                                                Exe~ve office

~~eptember 15, 24'11

..~_RE: Claim G599514 for Vincent Shack
                                                                                                        ~i,-;i




     ear V ncent Shadc,

   he Victim Compensation and Government Claims Board (VCGCB) received your claim on
                                                                                     September 01,
'► J11.

 yVe have reviewed your claim and determined that the VCGCB has no jurisdiction to conside
                                                                                           r the claim for the
"!.,flowing reason(s):
                                                                                               _.                   ,~
 The Victim Compensation and Government Claims Board has no jurisdiction over
                                                                                   the Supenor Court~;oF~~ ~ ~,~~
superior court Judges.                                                                      "`=tea `"~''~ `~
z
    .e VCGCB will take no further action on your Gaim. If you have questions about this matter,
                                                                                                  please mention
Witter reference 47 and claim number G599514 when you call or write your claim technician or
                                                                                                   analyst at (800)
~' ~5-0045.
r
Sincerely,
r
t ovemrnent Claims Program
~~ctim Compensation and Government Claims Board

~- r 47 No Jurisdiction
r:
r


r



r




t
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 40 of 73 Page ID #:40




                           EXHIBIT D
             Case 5:19-cv-02494-PA-SP Document .:,CAL
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                                                        12/27/19 Page 41 of 73 Page ID #:41
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                                        A DMINISTRATIVE OFFICE OF THE COURTS

                                            O FFICE O~ THE GENERAL COL`1~SEL

                                     45~ Golden Gace Avenue 'San Franciscc, CaliEomia 9410'_-3688
                                     Telephone 41~-86~-7446 • F~ 4li-86~-7664 • TDD 41~-86~-4'_i

                                                                                                                  lOD1' PATEL
T ANI G. CAN TIL-SAKNI.'Yc
                                                                                                    Interim Adm~nisrracive DiTecco~ of the C~uTu
    Chief Justice o(Ca1i}'ona~
   CnaiT of the Judecial. Coun~:il
                                                                                                             C~ R? SODERLUND
                                                                                                           Interim Chief Deputy Direcco~


                                                                                                             ViAR}~ M ROBERTC
           August 21, 2012                                                                                       General Counsel



           Mr. Vincent W. Shack
           64337 Doral Drive
           Desert Hot Springs, California 92240

           Re: Claimant:                        Vincent W. Shack
               Date-of Incident:                March 4. ?011
               Date°.Claim Presented:           August 6, 201?

           Dear Mr. Shack:

           The claim you presented to the Clerk/Administrator of the Court of Appeal, Fourth Appellate
           District (the Court of Appeal}, on August 6, 2012, was forwarded to this office for a response.
           The claim is being returned because it was not presented within six months after the event or
           occurrencz as required by law. See sections 901 and 911.2 of the Government Code. Because the
           claim was not presented within the time allowed by law, no action was taken on the claim.

           A person's only recourse for presenting a late claim (i.e., a claim that was not presented within
           six months after the event or occurrence) would normally be to apply without delay to the Court
           of Appeal for leave to present a late claim. See sections 911.4 to 912.2, inclusive, and section
           946.6 of the Government Code. Under some circumstances, leave to present a late claim will be
           granted. See section 911.6 of the Government Code. Please note, however, that the application
           for leave to present a late claim not only must state the reason for the delay in presenting the
           claim but it must be made within a reasonable time not to exceed one yea~~ afte~~ the accrual of
           the cause ofaction. See section 911.4(b) of the Government Code.
 Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 42 of 73 Page ID #:42

Mr. Vincent W. Shack
August ?1, 2012
Page 2



You may Seek the advice of an attorney of your choice in connection with this matter. If you
desire to consult an attorney, you should do so immediately.



Very truly yours,



 yle R. Nishimi
Attorney
LRN/ms

Enclosure
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 43 of 73 Page ID #:43




                            EXHIBIT E
  Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 44 of 73 Page ID #:44



                           COURT OF APPEAL -- STATE OF CALIFORNIA
                                     FOURTH DISTRICT                                               ~
                                       DIVISION TWO                                       ~        ""~'
                                            ORDER                               ~             ~               5

  VINCENT W. SHACK,                                        E049374
     Plaintiff and Appellant,
                                                           (Super.Ct.No. INC083821)
       v.
                                                           The County of Riverside
  NBC UNNERSAL MEDIA,LLC et al.,
     Defendants and Respondents.



  THE COURT
                                                                                                         ~:: -~._,~~
        Appellant's motion filed August 6,2012, to recall the remittitur                                          `':
                                                                          is DENIED on the
 same ground as appellant's motion filed September 29,2011,
                                                               to recall the remittitur was
 denied by- order filed October 12, 2011.

         The ground for denial of both motions to recall the remittitur is
                                                                           "that the sole
 ground ofthe motion was asserted judicial error, which does not
                                                                    justify the recall of a
 remittitur. (Southwestern Inv. Corp. v. City ofL. A.(1952)38
                                                                  Ca1.2d 623,626;9
  Witkin, Cal. Procedure (5th ed. 2008) Appeal, § 852, pp. 914-915.)"
                                                                          (Order filed
 October i2, 2011.) Although appellant claimed in the title to the motio
                                                                             n,"related to
 matters outside of `judicial error,"' the grounds asserted in the motio
                                                                         n exclusively relate
 to judicial error. Appellant's claims of error include:(in the intro
                                                                      duction)"`clearly
 unfair treatment under the Color of Law''';(in the declaration) enfor
                                                                        cement under color
 oflaw of the "Constitutional Rights to one(1)party (the Defendants
                                                                       /Respondents), at the
 EXPENSE ofthe, second party (the Plaintiff/Appellant);(also in the
                                                                         declaration in all
 capital letters)"clear and bright lines ofthe law were crossed by the
                                                                        court"; and (in the
 declaration as well)"No level of `scrutiny' was applied to the claim
                                                                       ed `protected conduct
(Civil  Code 47b)' ofthe Defendant." No ground other than judicial
                                                                   error is discernible
 in the motion.

       Appellant's government claim received with the motion was forwa
                                                                         rded to, and
separately handled by, the Office of General Counsel at the
                                                            Administrative Office of the
Courts.


                                                                           ~,, .'~-
                                                                      ~               ~
                                                                              Presiding Justice
cc:    See attached list                                                                                ,-
                                                                                    "`            r~'
                                                                                                  ; ~
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 45 of 73 Page ID #:45




                            EXHIBIT F
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19~i~iiFPage       46 of
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                                                                     F.lecu~oaiea~., FIi,ED on 7I f 3!''~~[~ by E. C~.ballos. I7e~~ut_y CI




                       COURT OF APPEAL -- STATE OF CALIFORNIA
                                 FOURTH DISTRICT
                                   DIVISION TWO

                                                   i'1 '


VINCENT W. SHACK,                                                     E049374
   Plainriff and Appellant,
                                                                      (Super.Ct.No. INC083821)
      v.
                                                                      The County of Riverside
NBC UNIVERSAL MEDIA,LLC et al.,
   Defendants and Respondents.



THE COURT

        Appellant filed on February 23, 2018, his fifth motion to recall the remittitur. It is
DENIED on the same grounds as the denial of his fourth recall motion by order filed
August 23, 2016. That order was the subject of appellant's petition for review, which
was denied October 28, 2016. By his fifth recall motion, appellant appears to seek leave
from this court to have the government claims reviewed that were submitted with an
earlier recall motion and forwarded to the Office of General Counsel. (See docket entry
for order filed November 19, 2012.) The order denying the fourth recall motion
explained that the extent of this court's jurisdiction in this appeal was review of the
judgment appealed, which did not extend to subsequent government claims. The court
denies this fifth recall motion on the same ground. (See Pacific Legal Foundation v.
California Coastal Com.(1982)33 Ca1.3d 158, 165-166 [remittitur may not be recalled
for judicial error, but only for clerical error, fraud on the court, or court's inadvertence or
mistake of fact].)


                                                                                                       RAMIREZ
                                                                                                  Presiding Justice


cc:     See attached list
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 47 of 73 Page ID #:47




                           EXHIBIT G
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 48 of 73 Page ID #:48




                          EXHIBIT G-1
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 49 of 73 Page ID #:49




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Docket (Register of Actions)

Vincent Shack v. NBCUniversal Media, LLC et al.

Case Number E049374

Date     Description     Notes

10/07/2009      Notice of appeal lodged/received.         dtd Sep 28, 2009; Vincent W.Shack (IMG
Worldwide, Inc. & LPGA)

10/07/2009       Letter to counsel - 10 days to file case information statement.

10/07/2009       Default notice sent-appellant notified per rule 8.100(c).

10/15/2009       Notice of appeal lodged/received.        dtd Sept 28, 2009; Vincent Shack (Bighorn)

10/15/2009       Notice of appeal lodged/received.        dtd Sept 28, 2009; Vincent Shack (NBC
Universal)

10/15/2009       Notice of appeal lodged/received.        Sept 28, 2009; Vincent Shack (Samsung
Electronics)

10/15/2009       Letter to counsel - 10 days to file case information statement. (NBC Universal Inc.)
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 50 of 73 Page ID #:50




                          EXHIBIT G-2
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 51 of 73 Page ID #:51




10/15/2009      Letter to counsel - 10 days to file case information statement. (Samsung Electronics
America Inc.)

10/15/2009      Letter to counsel -10 days to file case information statement. (Bighorn Properties)

10/15/2009      Application for waiver of filing fee filed.

10/15/2009      Order waiving filing fee.

10/19/2009      Certificate of interested entities or persons filed by:        applt

10/19/2009      Received document entitled:        CCIS(IMG Worldwide, LPGA)

10/19/2009      Received document entitled:        CCIS (Bighorn Properties)

10/19/2009      Received document entitled:        CCIS(NBC Universal, Inc.)

10/19/2009      Received document entitled:        CCIS(Samsung Electronics America)

10/19/2009      To court.         CCIS (4) & mist file folder

10/22/2009      Association of attorneys filed for:           resp Bighorn Properties; Best, Best &Krieger
associates in Bradley & Gmelich

10/26/2009      To presiding justice for signature.           proposed order

10/27/2009      Order filed.     Because the appeal from the Jul 27, 2009 order in favor of Bighorn
Properties is untimely, it must & is dismissed. The crt construes the ntc of appeal (as to IMG Worldwide,
I nc. &Ladies Professional Golf Assn)to have been taken from the jdmt in favor of IMG Worldwide &
LPGA dtd Jul 16, 2009. Further, appint directed to serve/file a signed, file-stamped copy of the jdmt filed
in favor of Samsung Electronics America, Inc., on or before 15 days from date of this order.

10/27/2009      Civil case information statement filed. (IMG Worldwide Inc., LPGA)

10/27/2009      Civil case information statement filed. (NBC Universal Inc.)

11/02/2009      Filed document entitled:           Ntc to Court of Appeal incompliance with the order on
Oct 27, 2009 with copy of jdmt filed in favor of Samsung Electronics America, Inc.

11/02/2009      To court.         copy of jdmt by appint, mist file folder

11/09/2009      To presiding justice for signature.           proposed order

11/12/2009      Order filed.     The crt construes the ntc of appeal filed Sept 08, 2009, as to Samsung
Electronics America, Inc. to have been taken from the order filed Oct 5, 2009. In addition, the premature
ntc of appeal is deemed to have been filed immediately after entry of the appealable order.

11/12/2009      Civil case information statement filed. (Samsung Electronics America)
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 52 of 73 Page ID #:52




                          EXHIBIT G-3
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 53 of 73 Page ID #:53




11/16/2009      Telephone conversation with: Angelina w/Riv appeals re status of record - ntc for
estimate of costs being sent.

12/22/2009      Telephone conversation with: Angelina w/Riv appeals re status of record -fees due
Jan 4, 2010.

12/30/2009      Remittitur issued.       Partial, as to the appeal re Bighorn Properties

01/28/2010      Telephone conversation with: Angelina w/Riv appeals re status of record -only clk's
transcript being prepared. Due date is Feb 22, 2010.

02/18/2010      Record on appeal filed. C-2.

03/12/2010      Requested - extension of time

Appellant's opening brief. Requested for 05/18/2010 By 49 Days)

(fax)

03/19/2010      To court.        appint's extn req to file AOB

03/23/2010     To presiding justice for signature.        proposed order

03/24/2010    Denied -extension of time.          Instead appint is granted an ext to April 29, 2010 to file
AOB w/no further extns.

04/22/2010      Motion/application to augment record filed.        & extn req to file AOB

04/29/2010      Voice Mail message for:appint re need change of address.

04/30/2010       Telephone conversation with: appint re address has not changed. Appint notified in
the future to include his address on the cover page of his documents.

05/04/2010      Certificate of interested entities or persons filed by:    resp IMG Worldwide, Inc.

05/04/2010      Certificate of interested entities or persons filed by:    resp Ladies Professional Golf
Association

05/04/2010     Opposition filed.       to appint's mtn for amendment of record by resp's IMG
Worldwide, Inc. &Ladies Professional Golf Association

05/10/2010    To court.          appint's mtn to augment/extn req to file AOB & oppo by resp's IMG
Worldwide & LPGA

05/11/2010      Reply filed to: opposition to mtn to augment, by appint

05/11/2010      To court.        applt's reply to oppo to mtn to aug
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 54 of 73 Page ID #:54




                          EXHIBIT G-4
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 55 of 73 Page ID #:55




05/11/2010      Voice Mail message for: appint re need amended pos, including "9th Floor" for Tharpe &
Howell re reply to opposition to mtn to aug

05/14/2010     Received document entitled: pos correction re reply to resp's oppo of mtn to
augment including complete address for Tharpe &Howell

06/04/2010      To presiding justice for signature.       proposed order

06/07/2010       Augmentation granted.(See order.)       Appint's mtn to aug granted, &the rptr's
attached to the mtn as exhibits A, B, C, D, & E are deemed part of the record on appeal. Req fora 30-day
extn to serve/file AOB denied. Instead, AOB due 20 days from date of this order w/no further extns.

06/11/2010      Motion filed.    For imposition of sanctions, including memo of points &authorities, by
a ppint

06/25/2010      Appellant's opening brief.        Plaintiff and Appellant: Vincent W.Shack

Pro Per

06/28/2010      Certificate of interested entities or persons filed by:    resp NBC Universal, Inc.

06/28/2010      Opposition filed.        To appint's mtn for imposition of sanctions by resp NBC
U niversal

06/28/2010      Filed declaration of:    Stephen Chace Bass in sppt of oppo to mtn for sanctions

06/28/2010      Opposition filed.     To appint's mtn for imposition of sanctions, by resp IMG
Worldwide, Inc &Ladies Professional Golf Association

06/28/2010      Certificate of interested entities or persons filed by:    resp Samsung Electronics
America

06/28/2010      Opposition filed.        To appint's mtn for imposition of sanctions, by resp Samsung
Electronics America, Inc.

06/28/2010      Filed joinder to: oppo's by resp's NBC Universal &Samsung Electronic's to appint's mtn
for imposition of sanctions, by resp IMG Worldwide &Ladies Professional Golf Association

06/28/2010       To court.      appint's mtn for imposition of sanctions, oppo by NBC Universal,
declaration in sppt of oppo by NBC Universal, oppo by resp IMG Worldwide &Ladies Professional Golf
Assn, oppo by resp Samsung Electronics, & joinder to resp's oppo

07/06/2010      Reply filed to: oppositions to mtn for imposition of sanctions

07/06/2010      To court.        appint's reply to oppos's to mtn for sanctions

07/15/2010      Returned document for non-conformance.          RB extn rgst for resp IMG, Worldwide,
Inc.: not enough copies, need return envelopes & orig signatures OR can fax.
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 56 of 73 Page ID #:56




                          EXHIBIT G-5
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 57 of 73 Page ID #:57




07/16/2010       Requested -extension of time

Respondent's brief. Requested for 08/25/2010 By 30 Days)

(fax)

07/20/2010       To presiding justice for signature.       proposed order

07/21/2010       To court.        resp's IMG Worldwide, Inc. & LPGA's extn req to file RB

07/21/2010       Returned document for non-conformance.             Samsung's RB extn missing envelopes
a nd 1 more copy.

07/21/2010       Requested - extension of time

Respondent's brief. Requested for 08/25/2010 By 30 Days)

07/21/2010       Certificate of interested entities or persons filed by:     Samsung Electronics
(supplemental)

07/22/2010       Order on motion filed. Ruling reserved for consideration w/the appeal on the mtns for
sanctions.

07/23/2010       To presiding justice for signature.       proposed order

07/23/2010       Respondent's brief.       Defendant and Respondent: NBCUniversal Media, LLC.

Attorney: Paul K. Schrieffer

07/23/2010       Granted - extension of time.

Respondent's brief. Due on 08/25/2010 By 30 Days)

w/no further extns.

07/27/2010       To court.        resp Samsung's extn req to file RB

07/29/2010       To presiding justice for signature.        proposed order

07/29/2010       Granted -extension of time.

Respondent's brief. Due on 08/25/2010 By 30 Days)

w/no further extns.

08/09/2010       Voice Mail message for:atty Schrieffer re need amended pos, including service to
Supreme Court re RB

08/12/2010       Filed proof of service.   by Resp. NBC Universal of RB on Supreme Court & superior crt
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 58 of 73 Page ID #:58




                          EXHIBIT G-6
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 59 of 73 Page ID #:59




08/25/2010      Returned document for non-conformance.            RB & 1 volume of exhibits for Samsung
Electronics America Inc. -attachments to briefs may not exceed 10 pages and may consist only of
exhibits or other materials in the appellate record. Rule 8.204(d).

08/26/2010      Respondent's brief.      Defendant and Respondent: IMG Worldwide, Inc.

Attorney: Eric Bruce Kunkel

Defendant and Respondent: Ladies Professional Golf Association

08/26/2010      Respondent's brief.      Defendant and Respondent: Samsung Electronics America Inc.

Attorney: Wesley Drew Hellerud

08/26/2010      Motion/application to augment record filed.       resp Samsung Electronics America, Inc.

09/03/2010      Opposition filed.        to resp Samsung Electronics America, Inc.'s mtn to augment.

09/03/2010      To court.        Resp Samsung Electronics mtn to aug & appint's oppo thereto.

09/10/2010      Appellant's reply brief. Plaintiff and Appellant: Vincent W.Shack

Pro Per

09/10/2010      Case fully briefed.

09/28/2010      To presiding justice for signature.       proposed order

09/29/2010      Augmentation granted.(See order.)        The document copies attached to resp Samsung
Electronics America, Inc.'s mtn to aug filed Aug 26, 2010 are deemed a part of the record on appeal.

10/07/2010      Case briefed and on assignment panel.

01/10/2011      Issued tentative opinion or disputed issued memo

01/19/2011      Waiver of oral argument filed by:        (by fax) respondent

01/24/2011      Request for oral argument filed by:       appint Shack.(by fax)

01/28/2011      Calendar notice sent. Calendar date:      March 1, 2011 @ 1:30 pm

03/01/2011      Cause argued and submitted.

03/04/2011      Opinion filed. (Signed Unpublished)

03/18/2011      Rehearing petition filed.by appint.

03/23/2011      Filed request to publish opinion.         resp NBC Universal, Inc.

03/24/2011      Order denying rehearing petition filed. appellant's
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 60 of 73 Page ID #:60




                          EXHIBIT G-7
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 61 of 73 Page ID #:61




03/24/2011        Letter sent to: Supreme Crt, dtd Mar 24, 2011, declining publication of opinion

04/07/2011        Service copy of petition for review received.    appint

04/07/2011        Record transmitted to Supreme Court. 1 vol 5191785

04/27/2011        Received copy of Supreme Court filing. Notice of change of corporate name of def NBC
Universal, Inc.

04/27/2011       Received copy of Supreme Court filing. resp NBCUniversal Media, LLC's answer to
a ppint req forjud review

05/06/2011        Received copy of Supreme Court filing. appint's reply to answer: petn for judicial
review

05/17/2011       Petition for review denied in Supreme Court. and the request for an order directing
publication of the opinion is denied, dtd May 11, 2011. Chin &Corrigan, JJ., were recused &did not
participate; 5191785

05/17/2011         Filed document entitled:        Notice of change of Corporate name of defendant NBC
U niversal, Inc. to NBCUniversal Media, LLC.

05/17/2011        Remittitur issued.

05/20/2011        Record returned from Supreme Court. 1 vol

05/27/2011        Received:       Copy of ntc of appeal to the U.S. District Court by appint

09/22/2011        Returned document for non-conformance.           Government claims form -lack of
jurisdiction

09/29/2011        Motion filed.   To recall the court's remittitur, by appint

09/29/2011        Exhibits lodged.l volume (government claim)

09/29/2011        To court.       appint's mtn to recall remittitur & 1 volume exhibits

10/12/2011      Order on motion filed. Appint's mtn filed Sept 29, 2011 denied. The clk of this crt
directed to return the original exhibits, including an original state government claims form & a check for
$25 to appint. The clk further directed to retain in the case file a copy of the check & a copy of the
original exhibits.

10/12/2011        Note: exhibits recd Sept 29, 2011 &check number 904 returned to appint

08/10/2012   Returned document for non-conformance.                 personal m.o. dtd Aug 3, 2012 to
Edward Montgomery - no fee here for $25.00

08/06/2012        Motion filed.   To recall the remittitur by appint
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 62 of 73 Page ID #:62




                          EXHIBIT G-8
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 63 of 73 Page ID #:63




08/10/2012          To court.       appint's mtn to recall remittitur, 1 volume exhibits, misc file folders (2)

08/06/2012          Exhibits lodged.l volume (entitled Appellant's government claim) in support of mtn to
recall remittitur

11/19/2012       Order on motion filed. Motion to recall remittitur denied on the same grounds as
a ppellant's motion filed September 29, 2011 to recall the remittitur was denied by the order filed Oct
12, 2011.(see order for specifics) Appellant's government claim received with the motion was
forwarded to, and separately handled by, the Office of General Counsel at the Administrative Office of
the Courts.

11/19/2012     Returned document for non-conformance.                  Appellant's letter to the court clerk re
action on pending motion. MOOT-order filed this am.

03/29/2013          Service copy of petition for review received.      by appellant in proper

03/03/2014          Case in basement storage.        List 18, Box 13

01/15/2015          Shipped to state retention center, box # /list #: SRC# 0421909

05/13/2015      Returned document for non-conformance.                 Motion to recall the remittitur - Exhs
need to include index and consecutively number

05/18/2015          Motion filed.   to recall remittitur by appint

05/29/2015          Filing fee.      Resp NBCUniversal Media, LLC et al.

05/29/2015          Opposition filed.        to Vincent Shack's mtn to recall remittitur.

05/29/2015          To court.       Appint's mtn to recall rmi & oppo thereto.

06/30/2015          To presiding justice for signature.         Proposed order

07/01/2015          Order on motion filed. to recall remittitur, denied.(see order)

02/04/2016          Motion filed.   entitled "Appellant's petition for recall of court's remittitur"

02/22/2016          To court.        mtn to recall remittitur

04/19/2016       Received copy of Supreme Court filing. Appint's own petn; mtn to review appint's mtn
to recall the lower crt's rmi for good cause; 5191785.

07/01/2016      Supreme Court order filed re: petn, captioned as a "petn to transfer: mtn to recall Crt
of Appeal's rmi,"denied. Dtd Jun 22, 2016; 5234225.

07/13/2016          Returned document for non-conformance.             Itr dtd Jul 8, 2016 -need pos and
req/exempt
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 64 of 73 Page ID #:64




                          EXHIBIT G-9
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 65 of 73 Page ID #:65




07/22/2016       Received letter from:     applt dtd Jul 22, 2016 re motion to recall remittitur

07/26/2016       To court.        Itr dtd Jul 22, 2016 from applt

08/22/2016       To presiding justice for signature.       Proposed order

08/23/2016       Order on motion filed. The Feb 4, 2016, motion to recall the remittitur is DENIED.

09/27/2016       Record requested from State Records Center.

09/28/2016       Received copy of Supreme Court filing. Appint's petn forjudicial review

10/03/2016       Received:        Record from SRC

10/03/2016       Record transmitted to Supreme Court. 1 vol (5237406)

10/28/2016       Petition for review denied in Supreme Court.       Dtd Oct 26, 2016; 5237406

11/02/2016       Record returned from Supreme Court. 1 vol

02/13/2018       Returned document for non-conformance.             appellant's document entitled Petition
for Judicial Review; lack ofjurisdiction

02/23/2018       Motion to recall the remittitur filed.    by appellant

02/23/2018       To court.        Appellant's motion to recall remittitur

04/30/2018       Filed letter from:        appellant, in support of motion to recall the remittitur

04/30/2018       To court.        appellant's letter in support of motion to recall the remittitur

08/02/2018       Received:        appellant's request for update on motion to recall remittitur

08/02/2018       To court.        appellant's request for update on motion to recall remittitur

03/26/2019       Filed letter from:        appellant, requesting status of ruling on motion to recall
remittitur

03/26/2019       To court.        appellant's request for status of ruling on motion to recall remittitur

07/12/2019       Order on motion filed. Appellant's Feb 23, 2018, motion to recall remittitur is denied.

07/15/2019       Record returned to State Records Center.

08/21/2019       Received copy of Supreme Court filing. appellant's motion for review

08/22/2019       Record requested from State Records Center.

08/27/2019       Received:        Record from SRC
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 66 of 73 Page ID #:66




                         EXHIBIT G-10
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 67 of 73 Page ID #:67




08/27/2019   Record transmitted to Supreme Court. 2 vol (5257553)

09/26/2019   Petition for review denied in Supreme Court.   dtd Sep 25, 2019(appellant) 5257553

11/25/2019   Record returned from Supreme Court.
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 68 of 73 Page ID #:68




                                     PROOF OF SERVICE

  (This section should not be filed with the court unless required by Fed. R. Civ.P.4 (I)

                          This summons for (Paul K. Schrieffer, Esq.)

Is received by me on December 27,2019

   I personally served the summons on the individual at(place)

on (date)                                        or

  I left the summons at the individual's residence or usual place of abode with

(name)                                      , a person of suitable age and discretion who resides

there, on (date)                             ,and mailed a copy to the individual's last known

address; or
    served the summons on Paul K. Schrieffer, who is designated by law to accept service of
process on behalf of NBCUniversal Media,LLC at 100 N. Barranca Avenue, Suite 1100
West Covina, CA 91791 on December 27,2019; or
  I returned the summons unexecuted because
  other


My fees are $            for travel and $        for services, for a total of$~



I declare under penalty of perjury that this informa ~    is true.
Date: ~~ ~      ~ ~P    —    pl ~l ~                           ~.
                                                               Server's signature

                                                                 Lois D. Shack
                                                           Printed name and title

                                                9541 Clubhouse Blvd. Desert Hot Springs, CA 92240
                                                             Server's address
 Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 69 of 73 Page ID #:69




 Civil Action No.

                                      PROOF OF SERVICE

    (This section should not be filed with the court unless required by Fed. R. Civ.P.4 (I)

                              This summons for (Paul V. Wayne, Esq.)

 Is received by me on December 27,2019

    I personally served the summons on the individual at (place)

 on (date)                                      ~~~

   I left the summons at the individual's residence or usual place of abode with

(name)                                       a person of suitable age and discretion who resides

 there, on (date)                             and mailed a copy to the individual's last known

 address; or
     served the summons on(Paul V. Wayne) with Tharpe &Howell,LLP

 15250 Ventura Blvd., 9th Floor Sherman Oaks, CA 91403 who

designated by law to accept service of process on behalf of(IMG Worldwide,Inc.) on
(December 27, 2019); or

   I returned the summons unexecuted because

   other



 My fees are $            for travel and $       for services, for a total of$~,~



 I declare under penalty of perjury that this information is true.

                                                  -~ -  ~~
                                                                     1 I/             ,,
 Date: ~p~, — ~ ~j `- ~ ~ j
                                                                          . ~


                                                               Lois D. Shack
                                                           Printed name and title

                                                9541 Clubhouse Blvd. Desert Hot Springs, CA 92240
                                                              Server's address
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 70 of 73 Page ID #:70




Civil Action No.


                                     PROOF OF SERVICE

   (This section should not be filed with the court unless required by Fed. R. Civ.P.4 (I)

                             This summons for(Paul V. Wayne, Esq.)

Is received by me on December 27,2019

 _I personally served the summons on the individual at(place)

on (date)                                       or

  I left the summons at the individual's residence or usual place of abode with

(name),                                     a person of suitable age and discretion who resides

there, on (date)                            ,and mailed a copy to the individual's last known

address; or
    served the summons on (Paul V. Wayne) with Tharpe &Howell,LLP

15250 Ventura Blvd.,9th Floor Sherman Oaks,CA 91403, who

designated by law to accept service of process on behalf of(Ladies Professional Golf
Association)(December 27, 2019)                             ; or

_I returned the summons unexecuted because

_other



My fees are $            for travel and $       for services, for a total of$



I declare under penalty of perjury that this information is true.



Date:l~~— Ol lQ — ~~
                                                               Server's signature

                                                             Lois D. Shack
                                                          Printed name and title

                                               9541 Clubhouse Blvd. Desert Hot Springs, CA 92240
                                                            Server 's address
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 71 of 73 Page ID #:71




Civil Action No.

                                     PROOF OF SERVICE

  (This section should not be filed with the court unless required by Fed. R. Civ.P.4 (I)

                              This summons for(Zena Lomeli, Esq.)

Is received by me on December 27,2019

   I personally served the summons on the individual at(place)

on (date)                                     ~~~

  I left the summons at the individual's residence or usual place of abode with

(name)                                      a person of suitable age and discretion who resides

there, on (date)                            ,and mailed a copy to the individual's last known

address; or
    served the summons on(Zena Lomeli with Kinkle, Rodi~er and Spriggs

3333 Fourteenth Street Riverside, CA 92501, who

designated by law to accept service of process on behalf of(Samsung Electronics America Inc.)
on (December 27, 2019)                            ; or

_I returned the summons unexecuted because

_other



My fees are $            for travel and $       for services, for a total of$



I declare under penalty of perjury that this information is true.



Date: `~           E - uI
                o~ (j                                          A mil,
                                                               Server's signature

                                                                Lois D. Shack
                                                          Printed name and title

                                               9541 Clubhouse Blvd. Desert Hot Surin~s, CA 92240
                                                            Server's address
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 72 of 73 Page ID #:72




Civil Action No.

                                     PROOF OF SERVICE

   (This section should not be filed with the court unless required by Fed. R. Civ.P.4(I)

                              This summons for (Superior Court.)

Is received by me on December 27,2019

 _I personally served the summons on the individual at (place)

on (date)                                      or

  I left the summons at the individual's residence or usual place of abode with

(name)                                      a person of suitable age and discretion who resides

there, on (date)                            ,and mailed a copy to the individual's last known

address; or
~ I served the summons on Superior Court, who is designated by law to accept service of
process on behalf of3255 E. TahQuitz Canyon Palm Springs, CA 92262 on December 27,
2019; or

  I returned the summons unexecuted because

  other



My fees are $            for travel and $       for services, for a total of$



I declare under penalty of perjury that this informatio    true.

Date: ln — a ~ ~— ~ ~~ l
                                                               Server's signature

                                                                Lois D. Shack
                                                          Printed name and title

                                               9541 Clubhouse Blvd. Desert Hot Surings, CA 92240
                                                            Server 's address
Case 5:19-cv-02494-PA-SP Document 1 Filed 12/27/19 Page 73 of 73 Page ID #:73
                                                                       *-,




Civil Action No.

                                     PROOF OF SERVICE

   (This section should not be filed with the court unless required by Fed. R. Civ.P.4 (I)

                                This summons for (Stephen Kelly)

Is received by me on December 27,2019

 _I personally served the summons on the individual at(place

on (date)                                        or

   I left the summons at the individual's residence or usual place of abode with

(name)                                      ,a person of suitable age and discretion who resides

there, on (date)                             ,and mailed a copy to the individual's last known

address; or
~ I served the summons on Stephen Kelly, who is designated by law to accept service of
process on behalf of3389 Twelfth Street Riverside, CA 92501 on December 27,2019; or

_I returned the summons unexecuted because

   other



My fees are $            for travel and $        for services, for a total of$



I declare under penalty of perjury that this informat' n is true.


                                                                Server's signature

                                                                Lois D. Shack
                                                          Printed name and title

                                                9541 Clubhouse Blvd. Desert Hot Snrin~s, CA 92240
                                                             Server 's address
